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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

 IN RE: 3M COMBAT                       ARMS         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to:                           Judge M. Casey Rodgers
 Estes, 7:20cv137                                    Magistrate Judge Gary R. Jones
 Hacker, 7:20cv131
 Keefer, 7:20cv104


                                            ORDER

       This Order addresses the following motions in limine for the upcoming

bellwether trial, beginning March 29, 2021: Defendants’ II, IV-V, VIII, X-XI, XIII,

XV, XVII-XVIII, XIX, XX-XXIV, and XXVI-XXVII; and Plaintiffs’ A(1)-(4),

B(1)-(4), D(1)-(3), E(1)-(2), G(1)-(2), (5), and (8), H(2)-(3), and I(2). A list of

motions that the parties must be prepared to discuss at the pretrial conference is also

included.1

Defendants’ Motions

II.  Evidence or Argument that Hacker’s Alleged Injuries Arose Anywhere
But Kentucky in 2006

       DENIED.2 See Order, ECF No. 1599 at 7; Joint Stip., ECF No. 1597 at 1.


       1
           Additionally, rulings on the following motions will follow by separate order: Defendants’
I, III, IX, XII, XXVIII-XXIX; and Plaintiffs’ E(3), F(1), G(7), and I(1).
       2
         Notwithstanding this ruling, any testimony given by a Plaintiff at the choice of law
evidentiary hearing may be used at trial for impeachment.
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IV.     Statements by Mrs. Estes’ Father

        Defendants move to exclude statements by Mrs. Estes’ deceased father.

Plaintiffs consent to the exclusion of these statements. Defendants’ motion to

exclude the statements is GRANTED.

V.      Evidence of the Estes Family’s Religious Upbringing and Beliefs

        Defendants’ motion to exclude evidence of the Estes’ family’s religious

upbringing and beliefs is GRANTED with respect to any argument that evidence of

the Estes’ faith supports their propensity to tell the truth. “Evidence of a witness’s

religious beliefs or opinions is not admissible to attack or support the witness’s

credibility.” Fed. R. Evid. 610. In all other respects, the motion is DENIED.

VIII.      Evidence of the 1993 Fine Imposed on Cabot Safety Corporation

        In 1993, the DOJ and EPA fined the corporate predecessor to Aearo, Cabot

Safety Corporation (“Cabot”), for labeling its foam earplug with an NRR that was

too high.     Defendants argue evidence about this incident is irrelevant and

inadmissible under Rule 404(b). The Court disagrees.

        A party cannot use evidence of a “crime, wrong, or other act” to prove a

person’s character or propensity to act in accordance with that character. Fed. R.

Evid. 404(b)(1). However, this type of evidence may be admissible for other

purposes, such as proving motive, intent, plan, knowledge, absence of mistake, or

lack of accident. Fed. R. Evid. 404(b)(2). Rule 404(b) “is a rule of inclusion, and
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[relevant prior bad acts] evidence, like other relevant evidence, should not be lightly

excluded” when it is central to a party’s case. United States v. Jernigan, 341 F.3d

1273, 1280 (11th Cir. 2003). The test for the admissibility of prior bad acts evidence

requires a showing that: (1) the evidence is relevant to an issue other than the

defendant’s character; (2) there is sufficient evidence from which a jury could find

that the defendant committed the extrinsic act; and (3) the probative value of the

evidence is not substantially outweighed by the potential for undue prejudice.

United States v. Ellisor, 522 F.3d 1255, 1267 (11th Cir. 2008).

      Regarding the first requirement, evidence about the 1993 fine is relevant.

Elliott Berger and Ron Kieper both worked for Cabot at the time. Berger participated

in the original labeling decision that led to the fine, which allegedly involved

reporting the highest NRR achieved for the foam earplug over the course of “16 to

18” tests, and he retested the earplug with NIOSH’s supervision (at the behest of the

EPA), which resulted in a lower NRR and the fine for having previously reported a

higher one. See Berger Dep., ECF No. 1674-18 at 9. This evidence is highly

probative here for the non-character purposes of showing Defendants’ knowledge

(in that both Berger and Kieper knew from the fine that selectively reporting the

highest test results violates EPA regulations), motive, intent and absence of mistake

when Berger and Kieper carried out and reported the labeling tests for the CAEv2

just seven years later.
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      As for the second requirement, the evidence would support a jury finding that

Defendants committed the acts that led to the 1993 fine. Cabot was responsible for

the tests and ultimately decided which test results to report, and Berger previously

testified to the underlying facts that gave rise to the fine. See United States v.

Chilcote, 724 F.2d 1498, 1502 n.2 (11th Cir. 1984) (“[A defendant’s] own statement,

admitting that he committed the act . . ., is sufficient to justify a jury finding that he

committed the act.”). Finally, the probative value of this evidence is not outweighed

by the risk of undue prejudice. Indeed, there is little likelihood of the evidence

causing undue prejudice at all—it is “not of a heinous nature, likely to incite the jury

to an irrational decision,” see United States v. Mitchell, 666 F.2d 1385,1390 (11th

Cir. 1982), nor will it be cumulative or otherwise confusing to the jury, see United

States v. Tunsil, 672 F.2d 879, 881 (11th Cir. 1982). Any potentially prejudicial

effect from the admission of this evidence may be mitigated by an appropriate

cautionary instruction to the jury, which will be given, if requested. United States

v. Diaz-Lizaraza, 981 F.2d 1216, 1225 (11th Cir. 1993).

      In sum, the Court finds the evidence of the 1993 fine imposed on Cabot Safety

Corporation is relevant and admissible under Rule 404(b). Defendants’ motion in

limine to exclude this evidence is DENIED.
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X.  Motion to Exclude Evidence of Alleged Injuries of Others, Including the
Number of Claimants

      Defendants move to exclude evidence of alleged injuries to other CAEv2

users and to preclude any reference to the total number of claimants in this

multidistrict litigation and the related Minnesota state court litigation. Defendants

argue that the other users’ alleged injuries are irrelevant, constitute inadmissible

hearsay, and that admission of this evidence would violate Rule 403. Defendants

further argue that any reference to the total number of claimants would violate Rule

403 because it lacks any probative value, and its introduction would be highly

prejudicial to defendants by creating the inference that defendants must have

engaged in tortious conduct. Plaintiffs counter by citing Eleventh Circuit precedent

that “[e]vidence of similar occurrences may be offered to show a defendant’s notice

of a particular defect or danger, the magnitude of the defect or danger involves, the

defendant’s ability to correct a known defect, the lack of safety for intended uses,

the strength of a product, the standard of care, and causation.” Hessen ex rel. Allstate

Ins. Co. v. Jaguar Cars, Inc., 915 F.2d 641, 650 (11th Cir. 1990). However, “because

of the potential prejudicial impact of prior occurrences or accidents, such evidence

is only admissible if conditions substantially similar to the occurrence caused the

prior accidents.” See id. at 649. Under the “substantial similarity” doctrine, this type

of evidence is admissible if the proponent demonstrates that: (1) the circumstances

of the prior incidents are substantially similar to those at issue in the present action;
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(2) the prior incidents are not too remote in time; and (3) the evidence must be more

probative than prejudicial. See Jones v. Otis Elevator Co., 861 F.2d 655, 661–62

(11th Cir. 1998); Heath v. Suzuki Motor Corp., 126 F.3d 1391, 1396 (11th Cir.

1997).

       The Court finds that Defendants’ motion is not ripe for decision at this point

because no specific similar occurrences have been raised. In light of the fact-

intensive nature of determining similar occurrence relevance, the Court cannot yet

determine the admissibility of such evidence.3 See Ray v. Ford Motor Co., No.

3:07cv175, 2011 WL 6183099, at *1 (M.D. Ala. Dec. 13, 2011) (reserving judgment

on motion in limine to exclude evidence of other similar incidents where “no specific

similar occurrences have been raised”); In re Mentor Corp. ObTape Transobturator

Sling Prods. Liab. Litig., No. 4:08-MD-2004, 2010 WL 1962943, at *2 (M.D. Ga.

May 14, 2010) (“Plaintiffs must establish that prior or subsequent incident evidence

is substantially similar for it to be admitted.”). Moreover, the Court cannot at this




       3
          “The ‘substantial similarity’ doctrine does not require identical circumstances, and allows
for some play in the joints depending on the scenario presented and the desired use of the
evidence.” Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1287 (11th Cir. 2015). Importantly,
however, “[s]imilarity of conditions marks the beginning, not the end, of a court’s inquiry with
respect to the admissibility of prior incidents.” Martin v. Altec Indus., Inc., No. 1:03-CV-331, 2005
WL 6038744, at *9 (N.D. Ga. Dec. 30, 2005). For example, evidence of prior incidents may be
excluded if it is “not probative because of the necessity for a considerable amount of extrinsic
evidence to determine whether the incidents [are] sufficiently similar to meet the standards of
[Rule] 403” or if “such evidence is needlessly cumulative.” See id. (quoting Wilson v. Bicycle S.,
Inc., 915 F.2d 1503, 1510 (11th Cir. 1990)).
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point determine whether Plaintiffs will be able to overcome a hearsay objection.4

See Salinero v. Johnson & Johnson, No. 1:18-cv-23643, 2019 WL 7753445, at *3

(S.D. Fla. Sept. 25, 2019) (“[E]vidence of lawsuits is generally considered

inadmissible hearsay.” (citation omitted)); Ray, 2011 WL 6183099, at *1; cf.

Godelia v. Zoll Servs., LLC, No. 16-60471, 2019 WL 3883682, at *3 (S.D. Fla. Aug.

16, 2019) (admitting evidence of similar occurrences contained in documents

“created and maintained” by defendants as opposing party statements and as

business record exceptions to the hearsay rule).

       Accordingly, the Court reserves judgment on this issue. The parties are

directed to be prepared to discuss this matter in detail, including specific evidence

sought to be introduced, at the pretrial conference.

XI.    Evidence of Falco’s Termination

       Falco was terminated from his position in 2010 for “inappropriate use of the

company’s computer system.” Plaintiffs have agreed that the specific reason for his

termination is not relevant—since it was not based on job performance or the

CAEv2—but argue the fact that he was terminated for violating 3M’s business

conduct policies is relevant to his credibility. Defendants seek to exclude the fact



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         Evidence of other claims might be used for impeachment if Defendants open the door for
its use at trial. See Gutierrez v. Galiano v. Enters. of Miami, Corp., No. 17-24081, 2019 WL
3302325, at *3–4 (S.D. Fla. July 23, 2019); Rushing v. Wells Fargo Bank, N.A., No. 8:10-cv-1572,
2012 WL 3155790, at *1 (M.D. Fla. Aug. 3, 2012).
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that Falco left 3M involuntarily, as irrelevant and unduly prejudicial. This is

incorrect. The fact that Falco was terminated is probative of his credibility, bias, and

motive to lie, all of which bear on the accuracy and truth of his testimony. See

United States v. Abel, 469 U.S. 45, 52 (1984) (“Proof of bias is almost always

relevant because the jury, as finder of fact and weigher of credibility, has historically

been entitled to assess all evidence which might bear on the accuracy and truth of a

witness’ testimony.”); United States v. Ruan, 966 F.3d 1101, 1164 (11th Cir. 2020)

(same regarding proof of bias or motive to lie). The jury is entitled to know that

Falco was employed by Defendants and was terminated for violating 3M’s business

conduct policies, but no more. So limited, the probative value of this evidence

substantially outweighs any potential for undue prejudice.            If requested, an

appropriate cautionary instruction will be given about the purposes for which the

jury may consider this evidence. Defendants’ motion to exclude evidence of Falco’s

termination is DENIED.

XIII.      Evidence and Argument Relating to “What Is Your Favorite Sound”
Video

        Defendants move to exclude a video entitled “What Is Your Favorite Sound”

which was created by 3M to explain the importance of hearing conservation. See

ECF No. 1664-14. In the video, actors depict the effects of hearing related injuries,

including tinnitus and hearing loss. Defendants argue that the video should be

excluded under Rules 402 and 403 because it does not purport to represent any
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individual’s actual experience with tinnitus or hearing loss and will therefore not be

helpful to the jury in understanding the extent of Plaintiffs’ alleged injuries.

Plaintiffs respond that the video is probative of “Defendants’ knowledge of the

severity, permanence, and progression of damages intrinsic to tinnitus and hearing

loss.” The Court agrees.

      The video is probative of Defendants’ knowledge at the time the CAEv2 was

sold, which directly informs the jury’s assessment of Defendants’ decisions with

respect to the design of the CAEv2. See, e.g., Ostendorf v. Clark Equip. Co., 122

S.W.3d 530, 535 (Ky. 2003) (“[I]t is the legal duty of a manufacturer to use

reasonable care to protect against foreseeable dangers . . . . [T]he risk-utility test

examines what the manufacturer knew or should have known at the time the product

was sold.”); Banks v. ICI Americas, Inc., 450 S.E.2d 671, 736 n.6 (Ga. 1994) (listing

“the gravity and severity of the danger posed by the design” as a factor to be

considered under the risk-utility analysis); Ky. Rev. Stat. § 411.186(2)(a)–(b) (“In

determining the amount of punitive damages to be assessed, the trier of fact should

consider . . . . [t]he likelihood at the relevant time that serious harm would arise from

defendant’s misconduct [and] [t]he degree of defendant’s awareness of that

likelihood.”). The Court finds that the probative value of the video is not

substantially outweighed by a danger of undue prejudice. Defendants’ motion to
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exclude evidence and argument relating to the “What’s Your Favorite Sound” video

is DENIED.

XV.     Arguments that Defendants Were Required, Should Have, or Actually
Fitted or Trained Plaintiffs

        Defendants move to exclude any evidence or argument that they were required

to, should have, or actually did fit or train individual soldiers on properly using the

CAEv2. Regarding evidence that Defendants were “required to” or “should have”

personally fit or trained individual soldiers, the motion is GRANTED. Plaintiffs do

not appear to argue for admission of evidence or argument of that nature, and no

evidence of any such requirement has ever been presented to the Court. However,

evidence or argument that Defendants “actually did” fit or train individual soldiers

is relevant to Plaintiffs’ claims, including their claims for misrepresentation, fraud,

and warranty. Defendants’ motion to exclude on this basis is DENIED.

XVII.      Evidence Related to Family Member Pain or Anguish

        Defendants move to exclude evidence on how Plaintiffs’ alleged injuries

affected their family members and friends. Defendants argue that such evidence is

not relevant, and any minimal probative value is outweighed by its prejudicial

impact on Defendants. Plaintiffs respond that they are entitled to introduce evidence

“on the intrinsic impact of Plaintiffs’ injuries on their personal relationships,

including with family.” Pls.’ Resp., ECF No. 1674 at 17.       The Court agrees with

Defendants, in part. Evidence of physical or emotional injuries of any person other
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than the Plaintiffs is not relevant, and any marginal probative value it may have is

substantially outweighed by the danger of unfair prejudice. See Worley v. State

Farm Mut. Auto. Ins. Co., No. 3:12-CV-1041-J-MCR, 2014 WL 12619898, at *1

(M.D. Fla. May 12, 2014). Defendants’ motion to exclude evidence of physical or

emotional injury of any person other than Plaintiffs is GRANTED. However,

evidence of how Plaintiffs’ alleged injuries have impacted their own relationships

with others is relevant to certain of Plaintiffs’ claims for emotional damages. See

Fed. R. Evid. 401. Defendants’ motion to exclude this evidence is DENIED.

XVIII.      Evidence Related to AEARO’s Start and Stop of Non-CAEv2 Tests

         Defendants move to exclude any evidence or argument relating to Aearo

stopping its non-CAEv2 REAT tests, on grounds that this topic is irrelevant, and any

marginal relevance is substantially outweighed by unfair prejudice and the

likelihood of confusing and misleading the jury. Fed. R. Evid. 401, 402, 403. The

Court disagrees. Evidence that Defendants had an unwritten policy or practice of

stopping REAT tests with undesirable results prior to their completion for all hearing

protectors, including the CAEv2, is relevant to Plaintiffs’ claims that Defendants

intentionally used in-house testing to label the CAEv2 with an unrepresentative

NRR, as well as their punitive damages claims. Moreover, as Plaintiffs point out,

the “unwritten nature of the policy directly rebuts” Defendants’ argument that the

National Voluntary Laboratory Accreditation Program (NVLAP) approved this
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testing procedure. The probative value of this evidence far outweighs any marginal

risk of unfair prejudice. Defendants’ motion as to evidence related to Aearo’s start

and stop of non-CAEv2 REAT tests is DENIED.

XIX.    Evidence or Argument that the CAEv2 Did Not Comply with Any
Contractual Specification

      Defendants argue that Plaintiffs should be judicially estopped from arguing

that the CAEv2 failed to meet any contractual specification at trial because they

previously and successfully took the position, in connection with the motions for

summary judgment on the government contractor defense, that there were “no

specifications” for the CAEv2, and that there was “no contract” between Aearo and

the government. The Court disagrees.

      Judicial estoppel is an equitable doctrine “intended to protect courts against

parties who seek to manipulate the judicial process by changing their legal positions

to suit the exigencies of the moment.” Slater v. U.S. Steel Corp., 871 F.3d 1174,

1176 (11th Cir. 2017). As relates to this litigation, the doctrine “generally prevents

a party from prevailing in one phase of a case on an argument and then relying on a

contradictory argument to prevail in another phase.” See New Hampshire v. Maine,

532 U.S. 742, 749 (2001). In this context, a three-factor test “typically informs” a

court’s decision about whether judicial estoppel applies: (1) a party’s later position

must be “clearly inconsistent” with its earlier position; (2) the party must have

successfully persuaded the court to accept the earlier position; and (3) the party
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would derive an unfair advantage or impose an unfair detriment on the opposing

party if not estopped from advancing the inconsistent position. 5 Slater, 871 F.3d at

1181 (quoting New Hampshire, 532 U.S. at 750-51). These factors are neither

“inflexible prerequisites” nor an “exhaustive formula.” Id. The decision to impose

judicial estoppel is within the discretion of the district court, and driven by the

specific facts of a case. New Hampshire, 532 U.S. at 750-51.

       Based on the specific facts of this litigation, Defendants’ argument fails on

the first factor. Plaintiffs’ summary judgment position was not that there was never

any contract between Aearo and the government related to the CAEv2. Rather, they

argued that there was no design contract, see Pl. Summary Judgment Mot., ECF No.

1072-73 at 23-24, and that the later sales contracts and solicitation for the already

existing CAEv2 (including the MPID) could not amount to procurement contracts

with reasonably precise specifications for the product’s design and development, see

id. at 25-26. Nothing about Plaintiffs’ earlier positions regarding the absence of a

design contract is at all inconsistent with them offering evidence or argument at trial

that the CAEv2 did not conform with the performance specifications of Defendants’

later sales contracts/solicitation with the government.                 Because there is no



       5
         The Eleventh Circuit employs a slightly different, two-part test in cases involving
allegedly inconsistent statements in prior proceedings (e.g., in prior bankruptcy proceedings) to
which the party seeking to invoke the doctrine was not a party. See Slater v. U.S. Steel Corp., 871
F.3d 1174, 1181-82 (11th Cir. 2017).
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inconsistency, judicial estoppel is not appropriate here. Defendants’ motion to

exclude evidence or argument that the CAEv2 did not comply with any contractual

specification is DENIED.

XX.   Evidence Suggesting that the Rise in Hearing Loss in the 2000s Was Due
to Combat Arms Earplugs

        Defendants move to exclude evidence regarding an overall rise in hearing loss

in the 2000s and to preclude Plaintiffs from “impl[ying] that the rise in hearing loss

in the 2000s was due to the CAEv2” under Rules 402 and 403. Plaintiffs respond

that they do not intend to introduce such evidence but assert that they “should be

entitled to rebut” any argument by Defendants that “hearing loss and tinnitus was

(and remains) the number-one cause for VA disability claims or that hearing loss in

the military is inevitable.” Based on Plaintiffs’ response, Defendants’ motion is

DENIED WITHOUT PREJUDICE. Plaintiffs should request to be heard outside

the presence of the jury before attempting to present any such evidence or argument

at trial.

XXI.      Evidence Regarding the Removal of the Flange-Fold Fitting Tip from
Retail Packaging in 2012

        In approximately 2012, 3M removed the “fitting tip” regarding folding back

the opposing flanges before insertion from the CAEv2’s retail packaging.

Defendants move to exclude any discussion of their removal of the fitting tip on

grounds that it would confuse the jury and waste time because none of the Plaintiffs
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purchased a pair of CAEv2 with the post-2012 instructions and there is no evidence

that any of these Plaintiffs saw the instructions. The Court disagrees. Evidence

regarding removal of the flange-fold fitting tip from retail packaging is relevant to

Plaintiffs’ claims that the “fitting tip” was never an essential component of the

product’s instructions or label, and it undermines Defendants’ position that the

“fitting tip” was widely known and disseminated. Therefore, presentation of this

evidence will not waste time. Moreover, Defendants will have the opportunity to

explain their decision to remove the “fitting tip” from retail packaging and also to

tell the jury whether (and if so, how) the “fitting tip” was communicated to the

military. Consequently, there is little danger of confusing the jury. In short, the

probative value of this evidence substantially outweighs any marginal risk of

confusion or wasting time. Defendants motion to exclude evidence regarding the

removal of the flange-fold fitting tip from retail packaging in 2012 is DENIED.

XXII.      Evidence Relating to Method B Test Data

        Defendants move to exclude evidence related to REAT tests and NRR ratings

calculated using Method B protocol (untrained, inexperienced subjects) on grounds

that the evidence: (a) is irrelevant, because military service members are trained and

experienced users of hearing protectors; and (b) will confuse the jury, waste time at

trial and prejudice Defendants, who will have to “spend significant time explaining”

the difference between NRRs calculated with Method B data and those calculated
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with other testing protocols. See Def. Mot., ECF No. 1664 at 31. Consistent with

the Court’s prior Order, REAT tests and NRR ratings calculated with Method B are

relevant and will help the jury evaluate the attenuation provided by the CAEv2. See

In re 3M Combat Arms Earplug Prod. Liab. Litig., 2021 WL 765019, at *21 (N.D.

Fla. Feb. 28, 2021). Dr. David Eddins, Plaintiffs’ expert, explained that Method B

testing better approximates service members’ real world experience with hearing

protection than does the alternative, Method A. Id. At the time the CAEv2 was

developed, the Army required that evaluations of the “potential effectiveness of

hearing protectors” be “based on [M]ethod B (subject fit)” protocols.            See

Department of the Army Pamphlet 40-501, dated December 10, 1998, ECF No.

1630-6 at 4, 13. Moreover, Defendants themselves used Method B to test the CAEv2

and their lead scientist, Dr. Elliott Berger, has previously opined that Method B (as

opposed to Method A) more closely corresponds to the real-world hearing protection

achievable by “groups of informed users in workplace hearing conservation

programs.” See In re 3M, 2021 WL 765019, at *21. Under these circumstances,

evidence relating to Method B test data cannot be considered unduly prejudicial. As

with any evidence “beyond the understanding and experience of the average citizen,”

the differences between the various test protocols can be readily explained to the

jury. See United States v. Rouco, 765 F.2d 983, 995 (11th Cir. 1985). Defendants’

motion to exclude evidence relating to Method B test data is DENIED.
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XXIII.    Evidence Regarding Aearo’s Use of Product-Specific Testing Panels
and Use of Employees and Their Family Members as Test Subjects

      Defendants move to exclude evidence that Aearo assigned individual test

subjects to product-specific testing panels, and also used employees and their family

members as test subjects. As to the former, they argue the evidence is irrelevant to

Plaintiffs’ claims because Aearo began using product-specific panels after the

CAEv2 labeling tests in 2000, and any marginal relevance is outweighed by the

potential for this evidence to confuse and mislead the jury into believing that Aearo

used product-specific test panels for its earlier REAT tests of the CAEv2. As to the

latter, they argue that the test subjects’ identities are irrelevant and unduly prejudicial

because they would serve only to “cast Defendants in a negative light by insinuating

that Aearo used its employees so that they (or a relative) would manipulate their own

results in order to deliver higher NRRs.” Def. Mot., ECF No. 1664 at 32. The Court

disagrees. Defendants’ REAT testing policies and procedures—including their

policies regarding test subject and panel composition—are highly relevant to

Plaintiffs’ negligence and punitive damages claims, which are based on allegations

that Defendants manipulated REAT test results for multiple hearing protectors,

including the CAEv2, in many ways for many years, not just on a single labeling test

in 2000. Defendants will have the opportunity to explain the bases for their testing

policies and procedures to the jury. And the jury will decide whom to believe. The

Court discerns no risk of unfair prejudice from the admission of this evidence.
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Defendants’ motion to exclude evidence regarding Aearo’s use of product-specific

testing panels, and its use of employees and their family members as test subjects, is

DENIED.

XXIV.     Assertions of Privilege

      Defendants request that: (1) any privilege marking on otherwise-admissible

documents be redacted, and (2) any privilege objections at trial be argued outside of

the jury’s hearing. In response, Plaintiffs defer to the Court’s discretion regarding

the form of privilege objections. At this stage of the proceedings, the Court cannot

anticipate what the trial testimony will be and whether or how privilege issues will

arise. However, the Court agrees with Defendants that the jury should not be made

aware of privilege invocations by either side, given the risk that an adverse or

negative inference might be drawn. See, e.g., Broyles v. Cantor Fitzgerald & Co.,

2016 WL 7656028 (M.D. La. Sept. 8, 2016). Accordingly, Defendants’ request for

redaction of privilege designations is GRANTED. The Court DEFERS RULING

on the manner in which privilege objections will be addressed at trial, and will

discuss this matter with the parties during the pretrial conference.

XXVI.     Evidence Related to Quality Control for Manufacturing of the
CAEv2

      Defendants argue that any evidence, expert or fact testimony, or argument

related to alleged manufacturing defects or failed quality control in the

manufacturing process for the CAEv2 should be excluded under Rules 401 and 403
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because it has no relevance to Plaintiffs’ design defect claims in this litigation. This

argument fails. Consistent with the Court’s prior Order discussing Plaintiffs’

experts’ opinions on Defendants’ quality assurance testing, evidence of this nature

is relevant to Plaintiffs’ claims “that Defendants’ overall quality assurance process

for the CAEv2 was substandard,” see In re 3M Combat Arms Earplug Prod. Liab.

Litig., 2021 WL 765019, at *32 (N.D. Fla. Feb. 28, 2021); see also id. at *35, which

bears on Plaintiffs design defect, negligent testing, breach of warranty, and failure-

to-warn claims. This evidence is not unduly prejudicial. Defendants motion to

exclude evidence related to quality control for manufacturing of the CAEv2 is

DENIED.

XXVII.       Inflammatory Political Remarks

        GRANTED, without opposition.

Plaintiffs’ Motions

A.      Motions to Prohibit Prejudicial Litigation Conduct

        1.   Motion to bar improper bolstering of 3M’s “good character.”

        GRANTED.

      2.    Motion to prohibit references to the personal lives/backgrounds of
the attorneys, including experience in the U.S. military or Alabama football.

        GRANTED.
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      3.    Motion to prohibit counsel for Defendants from referring to 3M as
“we,” “us,” or “our.”

      GRANTED. While the Court recognizes there may be inadvertent references

when counsel for either side are referring to something they have done in the course

of the litigation on behalf of their clients, counsel should avoid making a personal

connection with their clients in front of the jury. Should this become a repetitive

issue, counsel will be admonished in front of the jury.

      4.   Motion to exclude preemptive bolstering of the credibility of 3M’s
witnesses.

      GRANTED. While it is not exactly clear what Plaintiffs are referring to, in

general, bolstering of a witness is improper under Federal Rule of Evidence 404,

unless and until the witness’s character has been challenged. To the extent any party

intends to offer “bolstering-type” evidence, the party must advise the Court in

advance.

B.   Motions to Bar Evidence or Argument on a Verdict’s Impact on
Defendants

      1.     Motion to prohibit evidence or argument that a verdict may result
in increases in the price of military goods and services or otherwise impact the
military’s ability to equip servicemembers.

      GRANTED. However, Defendants may argue the financial impact to their

business from a punitive damages award but they cannot suggest how that will in

turn impact the public, including the jurors themselves, employees, or the costs of

other goods.
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      2.    Motion to prohibit argument suggesting jurors will pay for a
verdict against Defendants through higher costs for military goods.

        GRANTED.

      3.     Motion to prohibit argument that a verdict against Defendants may
result in the higher costs of Defendants’ other products.

        GRANTED.

     4.    Motion to prohibit argument that a potential verdict against
Defendants may result in Defendants firing employees.

        GRANTED.

D.      Motions to Exclude Settled Issues

       1.     Motion to exclude evidence or argument that military or
government had ultimate responsibility over design or labeling, prohibited
instructions, or provided design “specifications” in advance of the development
of the CAEv2.

       The parties must be prepared to discuss this matter at the pretrial conference.

      2.      Motion to bar untimely disclosed evidence of 3M’s knowledge of
testing.

        The parties must be prepared to discuss this matter, including specific

evidence that Defendants intend to introduce, at the pretrial conference.

    3.      Motion to prohibit fact testimony inconsistent with factual
admissions in Defendants’ 30(b)(6) testimony.

        Plaintiffs seek an order precluding Defendants from introducing any evidence

or testimony that contradicts the deposition testimony of witnesses designated as

corporate representatives under Federal Rule of Civil Procedure 30(b)(6). They
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argue that a corporation is bound by its 30(b)(6) testimony, which they construe to

mean that “the corporation cannot later proffer new or different” testimony unless it

proves that the new or different information was inaccessible or not previously

known to it. See Rainey v. Am. Forest & Paper Ass’n, Inc., 26 F. Supp. 2d 82, 94

(D.D.C. 1998). In the Court’s view, Plaintiffs overstate the binding effect of

30(b)(6) testimony.

      The Eleventh Circuit has not addressed whether the testimony of a Rule

30(b)(6) representative constitutes a judicial admission, with conclusive effect, or

merely an evidentiary admission, which can be contradicted or explained at trial.

See Ussery v. Allstate Fire & Cas. Ins. Co., 150 F. Supp. 3d 1329, 1344-45 (M.D.

Ga. 2015) (distinguishing judicial and evidentiary admissions). Every other circuit

to consider the issue has treated 30(b)(6) testimony as an evidentiary admission that

is binding in the sense that it can be used against the corporation, but not “in the

sense that it precludes the [corporation] from [later] correcting, explaining, or

supplementing” that testimony. See R&B Appliance Parts, Inc. v. Amana Co., L.P.,

258 F.3d 783, 786-87 (8th Cir. 2001); see also Vehicle Mkt. Rsch., Inc. v. Mitchell

Int’l, Inc., 839 F.3d 1251, 1260-61 (10th Cir. 2016); Keepers, Inc. v. City of Milford,

807 F.3d 24, 35-36 (2d Cir. 2015); A.I. Credit Corp. v. Legion Ins. Co., 265 F.3d

630, 637 (7th Cir. 2001). In other words, a corporation “is no more bound than any

witness is by his or her deposition testimony. A witness is free to testify differently
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from the way he or she testified in a deposition, albeit at the risk of having his or her

credibility impeached by the introduction of the deposition.” See R & B Appliance,

258 F.3d at 786; see also Cont’l Cas. Co. v. First Fin. Emp. Leasing, Inc., 716 F.

Supp. 2d 1176, 1190-91 (M.D. Fla. 2010). Plaintiffs’ motion to prohibit fact

testimony inconsistent with factual statements in Defendants’ 30(b)(6) testimony is

DENIED.

E.      Motions to Exclude “Mind-Reading”

      1.     Argument that an individual’s position or knowledge reflects the
position or knowledge of the U.S. government or military as a whole

        Plaintiffs move to exclude various witnesses’ Touhy6 testimony that is “likely

to confuse the jury on the state of mind or knowledge of the government as a whole.”

The motion is GRANTED. No argument or testimony suggesting that any witness

speaks on behalf of the United States government or military will be permitted.

Additionally, consistent with the Court’s prior orders on the parties’ Daubert

challenges, no witness may testify about the United States government or military’s

state of mind (e.g., what they believed, intended, knew, should have known, wanted

to know, or did not know about various propositions). See In re 3M, 2021 WL

830309, at *6 (N.D. Fla. Mar. 4, 2021).




        6
            United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).
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      2.    Evidence from 3M corporate witnesses that purports to describe
the intentions, interests, concerns, or decisions of Dr. Ohlin or of any other
government entity or agent

       Plaintiffs move to exclude as inadmissible hearsay and improper speculation

certain evidence of the state of mind, knowledge, or intentions of the military or its

agents, including Dr. Ohlin.7 In particular, Plaintiffs move to exclude the following

evidence of Dr. Ohlin’s out-of-court statements: (1) Elliott Berger’s testimony about

what Dr. Ohlin “determined,” “accepts,” “would not accept,” or “was interested in”

regarding hearing protection devices and Dr. Ohlin’s reasons for those positions, see

ECF Nos. 1663-15, 1663-16, 1663-17; and (2) Marc Santoro’s testimony about what

Dr. Ohlin “requested” regarding the CAEv2’s packaging and instructions and Dr.

Ohlin’s reasons for those requests, ECF No. 1663-9.8 Defendants counter that the

witnesses’ testimony as to Dr. Ohlin’s out-of-court statements is based on their

personal knowledge and does not constitute hearsay because Dr. Olin’s statements

are (1) orders or requests regarding the type of earplug he wanted, (2) involved in

making a contract for buying the CAEv2, or (3) admissible to show their effect on

Aearo personnel regarding what they believed the military wanted regarding a plug,

what the military relied on or knew about, as well as to show the effect such



       7
           Dr. Ohlin is deceased.
       8
         Plaintiffs also cite to various instances of testimony regarding what “the French and
United States militaries were aware of,” what “the French Army thought,” or what “the military
was aware of.” The Court reiterates that this type of state-of-mind testimony will not be permitted.
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statements had on Aearo in designing the CAEv2. The Court is not persuaded and

finds that Dr. Ohlin’s out-of-court statements are inadmissible hearsay.

      An out-of-court statement is not hearsay if it is admitted for some purposes

other than the truth of the matter asserted. See Fed. R. Evid. 801(c). Thus, “an out-

of-court statement that is either (1) offered to show its effect on the listener or (2)

more in the nature of an order or a request that, to a large degree, is not even capable

of being true or false, is not hearsay.” United States v. Hart, No. 20-11096, -- F.

App’x ----, 2021 WL 373097, at *1 (11th Cir. Feb. 3, 2021) (citing United States v.

Rivera, 780 F.3d 1084, 1092 (11th Cir. 2015)); see United States v. Cruz, 805 F.2d

1464, 1478 (11th Cir. 1986) (same). Similarly, a “verbal act . . . to which the law

attaches independent significance” is not hearsay. United States v. Mena, 863 F.2d

1522, 1531 (11th Cir. 1989).

      With that said, the Court is not persuaded that Dr. Ohlin’s statements would

be offered solely for the fact that they were made and the effect they might have had

on the listener. Cf. Cruz, 805 F.2d at 1478. Rather, it appears the real reason

Defendants seek to offer Dr. Ohlin’s statements is to prove the truth of the matters

asserted in them. See McKay v. Tracor, Inc., No. CV-03-BE-0590, 2005 WL

8158361, at *1 (N.D. Ala. Mar. 22, 2005) (rejecting government contractor’s

argument that evidence of a then-deceased military officer’s directive would be

offered to show that the contractor designed the product a certain way “because the
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military told it to” and finding instead that “the real reason Defendants offer [the

officer’s] statement” was to show “that the United States did, in fact, approve” the

design).

       For starters, Defendants intend to introduce these statements to show that the

military approved the CAEv2’s design. See, e.g., Berger Depo. Tr. (12/12/2019) at

61 (“Q. So one of the design options that the Army could have asked for would have

been to make plugs with different sizes, that is, where the flanges would be different

sizes, correct? A. Correct. Q. All right. But Doug Ohlin is saying that he is interested

in and wants a two-ended plug, one size, correct? A. Correct.”). Additionally,

Defendants intend to introduce these statements to show that Defendants did not

include instructions in the CAEv2’s packaging because “the military audiologists

were going to take on that responsibility of individually training every soldier.” See

Santoro Depo. Tr. (12/3/2019) at 326–327. Thus, no matter the probative value to

Defendants’ defenses, Dr. Ohlin’s statements and requests are hearsay not within

any recognized exception.9 Plaintiffs’ motion to exclude evidence certain evidence

on the state of mind, knowledge, or intentions of the military or its agents, including

Dr. Ohlin, is GRANTED.




       9
          Cruz is distinguishable from this case for the same reasons it was distinguishable in
McKay: (1) the out-of-court statements are not offered solely for the fact that they were made and
their effect on the listeners, and (2) the declarant will never be available to testify to his own out-
of-court statements and is not subject to cross-examination. See 2005 WL 8158361, at *1.
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G.      Motions to Exclude Prejudicial Evidence Relating to Plaintiffs

      1.    Motion to exclude argument or evidence about how, when, or
under what circumstances Plaintiffs chose or employed their attorneys,
including any referral arrangements or other counsel the Plaintiffs may have
retained other than their current counsel.

        Plaintiffs move to exclude all evidence and argument regarding how, when,

or under what circumstances Plaintiffs chose or employed their attorneys as

irrelevant under Rules 401 and 402 and unduly prejudicial, misleading, and

confusing under Rule 403. Defendants respond that they seek only to introduce

evidence of when Plaintiffs first retained counsel, and argue this bears on Plaintiffs’

credibility. Additionally, for Estes and Keefer, Defendants argue that the point in

time at which Plaintiffs retained counsel is relevant to Defendants’ statute of

limitations defense. The Court disagrees.

        First, when Plaintiffs chose or employed their attorneys is irrelevant to the

Plaintiffs’ credibility. See In re: Tylenol (Acetaminophen) Mktg., No. 2436, 2016

WL 3125428, at *5 (E.D. Pa. June 3, 2016); see also Pace v. Nat’l Union Fire Ins.

Co. of Pittsburgh, No. 1:12-CV-3096-MHC, 2015 WL 11199154, at *3 (N.D. Ga.

Feb. 3, 2015) (granting plaintiffs’ motion to exclude reference as to when, why, or

how plaintiff retained counsel to represent him as irrelevant and inadmissible under

Rule 402). Second, it is also irrelevant to the statute-of-limitations defense in both

Estes’ and Keefer’s cases. With respect to Estes, the discovery rule applies to Estes’

claims, so the statute of limitations did not begin to run until Estes knew or
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reasonably should have known the nature of his injury and the causal connection

between his alleged hearing injuries and the alleged negligent conduct of

Defendants. See In re 3M, 2021 WL 753563, at *2-3 (N.D. Fla. Feb. 2, 2021)

(Rodgers, J.). Although when Estes knew or reasonably should have known the

latter remains an outstanding issue for the jury, Estes testified at his deposition that

he did not speak to a lawyer about his claims until after a relative brought the

litigation surrounding the CAEv2 to his attention. Estes Dep., ECF No. 41-2 at 10-

11; see also In re 3M, 2021 WL 753563 at *4 (concluding that “the evidence is

equally susceptible of showing that he neither knew nor should have known that his

alleged injuries were caused by Defendants' alleged wrongful conduct until a relative

brought the litigation surrounding [the] CAEv2 to his attention in 2019”). Id. at *4.

Thus, when Estes chose or employed his attorneys has no bearing on when the statute

of limitations clock started in his case and is irrelevant and inadmissible under Rule

402.

       The same is true for Keefer. Like Estes, the discovery rule applies to Keefer

because there is evidence that his alleged hearing injuries involve a continuing tort.

See, e.g., Keefer Dep. Tr. 318:13-20 (describing his tinnitus as “[p]rogressively

worsening” since 2015 such that “the ringing and the buzzing is getting louder, more

noticeable more of the day”); id. at 306:9-12 (testifying that with respect to his

tinnitus, “the problems have progressed”); id. at 301:16-302:4 (testifying that
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“there’s been progressive signs that [the hearing loss] is getting worse” and the

“[r]inging and buzzing in [his] ears constantly has gotten louder”)). However,

Keefer testified that he learned of the litigation involving the CAEv2 through an

email or message from a friend. Id. at 374:19-376:19. Only after receiving his

friend’s message did he contact attorneys regarding the litigation. See id. Thus, like

with Estes, when Keefer chose or employed his attorneys is not relevant to the statute

of limitations issue in his case and is inadmissible under Rule 402.

      Although the Court infers from Defendants’ response, which was limited only

to evidence regarding when Plaintiffs’ retained counsel, that they do not intend to

offer evidence and argument regarding how or under what circumstances Plaintiffs

chose or employed their attorneys, the Court nonetheless finds such information

irrelevant and unduly prejudicial, and thus inadmissible under Rules 402 and 403.

See In re: Tylenol, 2016 WL 3125428 at *5; In re Yasmin & Yaz (Drospirenone)

Mktg., Sales Practices & PMF Prod. Liab. Litig., No. 3:09-CV-10012-DRH, 2011

WL 6740391, at *16 (S.D. Ill. Dec. 22, 2011).

      Plaintiffs’ motion to exclude evidence and argument about how, when, or

under what circumstances Plaintiffs chose or employed their attorneys is

GRANTED.
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     2.    Motion         to   exclude     the    census     and    bellwether      selection
forms/sheets. 10

       Plaintiffs move to exclude their case census forms and bellwether selection

sheets “because their prejudicial value and potential for confusion far outweighs

their relevance.” Pls.’ Mot., ECF No. 1663 at 24. More specifically, Plaintiffs argue

that the census form has minimal probative value because it was completed without

access to personnel and medical records from the Department of Defense (DoD) and

Department of Veteran’s Affairs (VA), and subsequent discovery supersedes the

information provided in the census form. Plaintiffs also contend that the bellwether

selection sheet is prejudicial because they were used for bellwether selection only

and completed by counsel, and its admission would confuse the jury. Defendants

respond that they are entitled to use statements in these documents for impeachment

because such statements are not hearsay per Rule 801(d)(2), and Plaintiffs swore to

the veracity of their statements in both documents: for the census form, by signing

a declaration under penalty of perjury per 28 U.S.C. § 1746; and for the bellwether

selection sheet by testifying under oath at their depositions that they supplied the

information in their sheets to counsel. The Court agrees that Plaintiffs may be cross-

examined regarding statements in the census forms, but not the bellwether selection

sheets.


       10
          Plaintiffs use the term “bellwether selection form.” For clarity and consistency, the
Court will refer to the form by its label, the “bellwether selection sheet.”
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       First, statements in Plaintiffs’ census forms qualify as admissions of a party

opponent and are therefore not hearsay because Plaintiffs either made the statement

or provided the information underlying the statement and otherwise confirmed that

they believed it to be true. See Fed. R. Evid. 801(d)(2)(A), (B). The census form

itself contains a declaration that each Plaintiff signed, affirming that, under penalty

of perjury, “all the information provided in response to [the census form questions]

is true and correct to the best of my knowledge, information and belief formed after

a reasonable inquiry.” See Case Census Form, ECF No. 775-1 at 6. 11 Cf. Geis v.

Tricam Indus., Inc., No. CIV.A. 09-1396 MLC, 2011 WL 2971247, at *2 (D.N.J.

July 20, 2011) (finding challenged statements in medical records did not fall under

the scope of Rule 801(d)(2) because “the records themselves do not indicate that

[plaintiff] was the one to make the challenged statements”). Plaintiffs’ argument

that the census forms were completed before extensive discovery and without access

to records goes to credibility and weight. Plaintiffs’ motion to exclude Plaintiffs’

census forms is DENIED.

       The same is not true of the bellwether selection sheet, however.                  The

bellwether selection sheet was created as a tool for bellwether selection; it was never

intended to be used as evidence in this litigation, which the Court made clear from



       11
          Hacker and Keefer also testified that they provided the answers on the form at their
depositions. See Hacker Dep., ECF No. 1673-8 at 6-7; Keefer Dep., ECF No. 1673-10 at 8-9.
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the beginning of the bellwether selection process. In fact, the undersigned cautioned

the parties that she “didn’t expect to see [the bellwether selection sheets] in cross-

examination at trial.” 8th Case Mgmt. Conf. Tr., ECF No. 1663-48 at 5-6. Plaintiffs’

motion to exclude Plaintiffs’ bellwether selection sheets is GRANTED.

      5.    Motion to exclude evidence or argument of Plaintiffs’ non-military
noise exposure in the absence of presentation of causal evidence.

      DENIED.

      8.     Motion to exclude evidence of alcohol and tobacco use.

      Plaintiffs move to exclude evidence of Hacker’s and Keefer’s alcohol and

tobacco use under Rule 403. Hacker abused alcohol from 2004 to 2014, and as of

2017 still drank some alcohol; he also used tobacco from around 2000 to 2018.

Hacker Dep., ECF No. 1663-54 at 18-19; Hacker Medical Records, ECF No. 1663-

73. Keefer used to drink alcohol, but stopped “[s]everal years ago.” See Keefer

Dep. ECF No. 1663-55 at 373-74. Defendants’ experts also observed evidence of

Keefer’s oral tobacco use. See LaBorde/Jones Rep. (Keefer), ECF No. 1663-62 at

12, 23.

      Plaintiffs argue that evidence of these Plaintiffs’ alcohol and tobacco use has

little probative value because it is not relevant to causation, and no expert has opined

that Plaintiffs’ tobacco use is relevant to damages. Additionally, Plaintiffs contend

that any little probative value of this evidence is outweighed by its potential to

unfairly prejudice Plaintiffs and confuse and mislead the jury, and thus should be
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excluded under Rule 403. Defendants do not respond to Plaintiffs’ motion to

exclude evidence of their alcohol use. Plaintiffs’ motion with respect to evidence of

alcohol use is GRANTED.

      With respect to evidence of Plaintiffs’ tobacco use, Defendants argue that

tobacco is ototoxic and therefore relevant to showing an alternative cause to

Plaintiffs’ alleged hearing injuries. The Court disagrees. Defendants have not

presented any evidence that tobacco is ototoxic such that it could be an alternative

cause of Plaintiffs’ hearing injuries, other than one sentence from their experts’

report for Keefer stating that “use of tobacco may be associated with tinnitus and

hearing loss.” See LaBorde/Jones Rep. (Keefer), ECF No. 1663-62 at 23. As

Plaintiffs point out, however, Defendants’ experts disclaim any causal connection

between Keefer’s tobacco use and alleged hearing injuries. See LaBorde Dep., ECF

No. 1663-75 at 6-7. Moreover, the Court hosted a second Science Day where both

parties and their experts presented evidence of whether a relevant scientific

association exists between certain medications and illicit substances—identified by

Defendants—and hearing loss and/or tinnitus. Tobacco was not identified on

Defendants’ list, and the Court found that “cigarette smoke” and nicotine were, “at

most,” marginally relevant. See Order, ECF No. 1330. In any event, any limited

probative value of this evidence is outweighed by the risk of unfair prejudice and

confusing the jury on the relationship between tobacco and Plaintiffs’ injuries. See
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Fed. R. Evid. 403, advisory committee notes (1972 proposed rules) (explaining

“unfair prejudice” means “an undue tendency to suggest decision on an improper

basis”).

         Additionally, Defendants’ argument that Plaintiffs’ experts should have

accounted for Hacker’s and Keefer’s tobacco use in opining on causation is

meritless. The Court has already concluded that Plaintiffs’ experts’ differential

etiologies are reliable, in part because they adequately and reliably ruled out other

“factors that could have been the sole cause” of their injuries. See In re 3M, 2021

WL 765019 at *12-14 (emphasis added) (internal quotation marks and citation

omitted). Again, Defendants have not presented any evidence that tobacco could

have caused Plaintiffs’ hearing injuries, so Plaintiffs’ experts’ failure to account for

tobacco use in their causation opinions does not change the Court’s findings. See

id.

         Defendants do not respond to, and thus seem to concede, Plaintiffs’ argument

that tobacco use is also not relevant to damages. Plaintiffs’ motion to exclude

evidence of Hacker’s and Keefer’s tobacco use is GRANTED.

H.       Motions Applicable to Luke Estes

      2.     Motion to exclude evidence or argument relating to the disposition
of Estes’s “pocket talker.”

         DENIED.
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        3.    Motion to exclude evidence relating to Estes’s father’s disabilities.

        GRANTED, without opposition.

I.      Motions Applicable to Stephen Hacker

       2.    Motion to exclude records from Hacker’s 2019 Mountainview
visit for kidney issues.

        DENIED.

Motions for Discussion at Pretrial Conference

        The parties should be prepared to discuss the following motions at the pretrial

conference:

1.      Defendants
        a.   Evidence regarding Defendant’s financial condition (VII)

        b.    Evidence of alleged injuries of others, including the number of
              claimants (X)

        c.    Evidence related to Dr. Fallon’s downloading of documents (XII)

        d.    Assertions of privilege (XXIV)

        e.    Inflammatory comments regarding DoD and VA’s record-keeping
              practices (XXV)

2.      Plaintiffs
        a.    Motion to exclude evidence or argument that military of government
              had ultimate responsibility over design or labeling, prohibited
              instructions, or provided design “specifications” in advance of the
              development of the CAEv2 (D1)

        b.    Motion to bar untimely disclosed evidence of 3M’s knowledge of
              testing (D2)
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   c.   Motion to exclude evidence or argument that Plaintiffs’ recovery
        should be impacted by disability or other collateral benefits or
        otherwise affected by operation of law (G3)

   d.   Motion to exclude VA Compensation & Pension documents and
        determinations (G4)

   e.   Motion to exclude unattributed statements in medical records (G6)

   f.   Motion to exclude evidence or argument relating to erectile
        dysfunction, virginity, fertility, Viagra, or other issues relating to sex
        between Mr. and Mrs. Estes (H1)

   g.   Motion to exclude evidence or argument that Estes was diagnosed with
        or suffers from clinical anxiety or depression (H4)

   h.   Motion to exclude evidence of irrelevant and prejudicial events in
        Hacker’s life (I3)

   i.   Motion to exclude evidence of Hacker’s family issues (I4)

   j.   Motions to exclude evidence and argument relating to Keefer’s alleged
        bad acts (J1)

   k.   Motions to exclude evidence and argument relating to Keefer’s past job
        performance (J2)

   l.   Motion to exclude evidence and argument relating to the reasons for
        Keefer’s divorces (J3)

   SO ORDERED, on this 10th day of March, 2021.


                            M. Casey Rodgers
                            M. CASEY RODGERS
                            UNITED STATES DISTRICT JUDGE
